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                             EXHIBIT A
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                                       Request for Compassionate Release


  My mother is 67 years old and suffers from diabetes, congestive heart failure, rheumatoid arthritis, a
  fractured Thoracic vertebrae, a shattered coccyx, congestive heart failure, rheumatoid arthritis,
  fibromyalgia, hypothyroidism, tremors, high blood pressure, depression, dementia, anxiety, migraines,
  sleep apnea, obesity, and a myriad of side-effects from the large number of prescriptions drugs she has to
  take. Additionally, she has been scheduled for a second reconstructive surgery on her lower back. She has
  trouble walking, driving, and generally caring for herself. Her immediate medical issues are bad, and are
  further exacerbated by her inability to maintain any form of diet and exercise plan. She can't stand long
  enough to prepare a healthy meal. She has spent her whole life caring for others, but now she lives alone
  without the basic help she needs. Her only other child lives over 100 miles away, and has a career, and two
  young children of her own to care for.


  My mother lives in our childhood home in Marshall, Texas. A 4-bedroom home on 3 acres that she can't
  take care of by herself. She adopts every single cat or raccoon that happens to wander into her carport at
  feeding time. Although she can remember the names of an entire zoo of pets, she cannot remember when
  to take her 22 prescription medications she has to take every day. She's been robbed multiple times, and it
  seems whichever passerby that shows up to do her yard work leaves with her lawnmower. The last person
  she hired to help her with housework, stole her wedding ring and her pain medication. She's become the
  easy, old-lady victim in an area with a growing opioid problem. And yet she still tries to help everyone she
  comes in contact with. She needs someone to help her. She needs someone that cares about her, and has her
  best interest in mind. And it kills me that I could be there for her, but instead, I'm in prison for a crime I
  can't even explain to her.


  It took the Assistant US Attorney many hours to explain to a jury how our company's business practices
  diverged from the law, during a trial that took 2 and a half months. Two of my co-defendants were acquitted,
  and two were convicted, but I took a plea a day before jury selection to get my critically ill wife out of jail.
  The government felt that our corporate asset protection structures, in spite of being blessed by a number of
  attorneys, could be retrospectively categorized as an illegal business practice. I concede that I do not know
  all of the 22,000 pages of current federal law. I admit that I allowed my management to run wild with a
  section of my corporate portfolio that I had little interest in. But, had I known that my personal freedom
  could have ever been at stake, there's no chance I would have been involved in telecom at all.


  I am not in prison for selling drugs or trafficking in illegal pornography. I am in prison for not being the
  right combination of attorney and businessman in a very aggressive industry. In retrospect, I was a horrible
  corporate executive. I had no business running a multi-million dollar enterprise. I'm a tech guy. I understand
  machines. It is people that I didn’t understand, and obviously I did a poor job of managing the people
  managing my companies.


  In spite of the scoring yielded by the BOP's new PATTERN system, I have a ZERO percent chance of
  recidivism. There's no possible way I'd ever own or operate another corporation, nor would any investors

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  entrust me to do so. I'm done with corporations. I have the technical skills to earn far more than most, and
  yet I am stuck here for some vague corporate conspiracy, instead of being able to care for my family and
  making meaningful payments towards my restitution.


  I have lost my wife of over 20 years, everything I have ever owned, over 10 years of my life, and the ability
  to be a father to my children. I feel like that's punishment enough for mismanaged corporate debt between
  telecom companies. I can't imagine anyone that knew the facts of this case would feel any differently. As
  all of our "victims" were multi-billion dollar telecommunications companies, they of course feel nothing at
  all on the subject. No justice is served by keeping me in prison for another 15 years, and public safety will
  not be impacted by my release. However, I realize what's important to the BOP at this time is not necessarily
  my mother's well-being, or mine, and that certain issues need to be addressed. I have itemized the obvious
  items of concern below.


  I. Likelihood of Recidivism
  At the time of my arrest, my family lived a rather expensive lifestyle, and I felt like I had to provide them
  with every luxury and amenity possible. Now, over a decade later, the wife is long gone, and my children
  are all adults. After years in prison, I have radically adjusted my worldview in favor of a far more
  sustainable lifestyle. Of all the mistakes I have to keep beating myself up for, I have to reconcile the fact
  that with my skill set, I could have lived comfortably, but I lost everything in exchange for a few years as
  a multi-millionaire. There's no chance of me ever forgetting that mistake. None, whatsoever.


  II. Current Criminal Case
  I am in prison for Conspiracy to Commit Wire Fraud, and Obstruction of Justice (Hiding Assets). In short,
  telecom companies I technically controlled, assumed lines of commercial credit with larger telecom
  companies, and then failed to pay the bills. The government asserted that this was intentional, and thus
  fraud. In order to engage in this "crime" again, I would need millions of dollars in telecommunications
  infrastructure, which I do not have, do not want, and wouldn't accept if it was freely given. No amount of
  money could compel me to be involved in telecom again.


  Telecom is a treacherous industry with a number of unsavory connections to global intelligence agencies.
  Although we all know this to be true now, after Edward Snowden's revelations, and the following
  admissions by the NSA, this was largely unknown in 2009. Obviously a 30 year sentence is ridiculous for
  simple corporate debt between telecom companies. My arrest and seizure of all our telecom equipment, we
  now believe was due to our growing long distance business with Mexico. This privately routed long distance
  traffic between the US and Mexico could not be easily monitored by the NSA's surveillance systems.
  Clearly this was a concern for US intelligence. If they had asked for access to this traffic, I would have
  made it possible. They did not. Either way, this case is ostensibly that of telecom debt structuring, and asset
  protection, recast as fraud. This case does not involve guns, drugs, or violence of any kind.


  III. Past Criminal Conduct

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  (a) In 1993 as an electronic engineering student, my lab partner and I thought it would be cool to build a
  pipe bomb. No explosives were used. No device was detonated. No one was threatened. No one was hurt.
  But I was charged with Conspiracy to Manufacture a Destructive Device, and sentenced to 13 months at
  the minimum security Shock Incarceration Program for Young Offenders, then at Lewisburg, PA. At the
  time, this charge was not considered a violent crime. Under the current law, it is not considered violent
  (After the Johnson case in the Supreme Court). Nevertheless, the BOP has this 27 year old case listed as a
  past crime of violence, which erroneously raises my custody classification (to 11 points, minimum security),
  and my PATTERN score to Medium. I am pursuing legal remedies to encourage the BOP to correct this
  issue.
  (b) I also have a 922(g) (1) Felon in Possession of a Firearm, stemming from a "technical possession". In
  1996 my ex-wife purchased a firearm with one of my company checks, for which I spent 2 years in federal
  prison.


  IV. Employability
  Although I went to college for Electronic Engineering, I have spent my entire life working in Computer
  Science, and IT. I have kept up to date as much as possible via a steady diet of text books. I have also been
  studying Discreet Mathematics, and other advanced mathematics in order to build a more solid foundation
  in CompSci. Although I have two oil companies in my family, either of which would employee me, I am
  quite capable of working as a software engineer from anywhere I can get online. I could pass any of the
  CompTIA or Cisco certifications tomorrow, if given the opportunity to do so, with which a 6 figure income
  is generally the norm. I am fascinated with the developments in artificial intelligence and machine learning,
  and I look forward to one day working in either industry. I can provide multiple job offers upon request.


  V. Mental Health and Substance Abuse History
  I do not drink. I do not smoke. I do not use drugs, nor have I ever. I have no illegal or dangerous habits or
  addictions. I suffer from no psychological issues, and have no mental health concerns. Although I have a
  childhood diagnosis for ADD, and Dyslexia, I overcame these learning disabilities long ago, and neither
  condition affects me today.


  VI. Programming
  I have taken virtually every program available at every prison I have been to. I have completed the Graphic
  Design and HVAC VT programs here, all Spanish 1 through 5 (Rosetta Stone), German 1, and I was the
  tutor for the Business Computer VT program for two years.


  VII. Personal Health and Medical Condition
  Although I was healthy at the time of my arrest, I have had trouble maintaining my health in prison. I’m
  now slightly overweight, I have high blood pressure, hypothyroidism, idiopathic dermatitis, idiopathic
  colitis, migraines, and two torn tendons I also suffer from asthma, severe environmental allergies, and I am
  hearing impaired. I have learned to live with many of these conditions, and in some cases have not even


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  bothered to seek medical treatment while in the BOP. Otherwise, the above issues are documented in my
  medical file, and/or my Pre-Sentence Investigation Report (PSR). None of the aforementioned conditions
  would prohibit me from obtaining employment, especially in a software type position.


  VIII. COVID-19 Risk Factors
  I am 47 years old with high blood pressure and asthma. Although I'd like to think I'm still healthy enough
  to survive the infection, I see stories every day where younger and healthier people have died from the
  virus. Many, with preexisting conditions, like mine. I am less than optimistic about my odds.


  IX. Release Plan
  To the best of my knowledge I am still one of the 13,000 federal inmates being considered for clemency.
  However, it's been two years since they requested my file, and although they have not denied my request,
  I haven't heard anything on the subject since they requested my file from my case manager. I am requesting
  compassionate release at this time, specifically to be released to home confinement to my release address,
  my mother's home in Marshall, Texas. There I can provide her the assistance she needs while easily earning
  a living wage teleworking as a software engineer. Additionally, my youngest son has been accepted to the
  University of Texas, and I'd like to have the opportunity to be a father to him before he goes off to college.


  X. Conclusion
  There is simply no reality where I could ever forget losing the last 10 years of my life. Nothing could
  compel me to engage in any conduct that could result in the loss of my freedom ever again. I'd gladly accept
  abject poverty over incarceration. I understand how the law works now. I accept that it's not a perfect
  system. I understand that I have felonies on my record, and the statistics associated with people with records
  like mine. I also know exactly what I have to do to stay out of prison. I understand how important it is for
  anyone released on home confinement or compassionate release, to make good decisions, and not to
  negatively impact those statistic. I couldn't live with any decisions that would rob someone else of such an
  opportunity, nor will I will be the guy that makes anyone look bad for giving me a chance. I'm done. I've
  learned my lesson. I don't want to die in prison from the COVID-19 infection. I just want to be there for
  my family during this crisis, and the rough times ahead.


  Sincerely,




  Michael B. Faulkner
  Reg.# 03829-078




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